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 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12

13   UNITED STATES OF AMERICA,                        ) NO. CR 20-00257 WHO
                                                      )
14           Plaintiff,                               ) STIPULATION AND ORDER CONTINUING
                                                      ) STATUS HEARING RE SENTENCING
15      v.                                            )
                                                      )
16   WING LOK “WALTER” WONG,                          )
                                                      )
17           Defendant.                               )
                                                      )
18

19           This matter is currently set for a Zoom status hearing on July 14, 2022 at 1:30 p.m. The parties
20 respectfully request that the status hearing be continued for six months, to January 12, 2023, at 1:30 p.m.

21 In the interim, the defendant will continue to provide cooperation pursuant to the terms of his plea

22 agreement.

23           SO STIPULATED.
24

25 DATED: July 13, 2022                                   STEPHANIE M. HINDS
                                                          United States Attorney
26
27                                                        /s/ David Ward
                                                          DAVID J. WARD
28                                                        Assistant United States Attorney

     STIP AND [PROPOSED] ORDER RE; STATUS HEARING
     CR 20-00257 WHO
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             Case 3:20-cr-00257-WHO Document 42 Filed 07/14/22 Page 2 of 2




 1 DATED: July 13, 2022                                         /s/ with permission
                                                         CARLY BITTMAN
 2                                                       SWANSON & McNAMARA LLP
                                                         Attorneys for Defendant
 3

 4

 5                                                  ORDER

 6         Pursuant to stipulation, the above-captioned matter will be set for a status hearing on January 12,

 7 2023 at 1:30 p.m.

 8         IT IS SO ORDERED.

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10 DATED: July 14, 2022                                  _______________________________
                                                         HON. WILLIAM H. ORRICK
11                                                       UNITED STATES DISTRICT JUDGE
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     STIP AND [PROPOSED] ORDER RE; STATUS HEARING
     CR 20-00257 WHO
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